Case 3:17-cv-00072-NKM-JCH Document 511-9 Filed 07/02/19 Page 1 of 3 Pageid#: 5400




           EXHIBIT 8
Virginia Courts Case Information System                                                      http://ewsocis1.courts.state.va.us/CJISWeb/CaseDetail.do
            Case 3:17-cv-00072-NKM-JCH Document 511-9 Filed 07/02/19 Page 2 of 3 Pageid#: 5401




                                      _     !
                                      Name List         Pleadings/Orders      Services    Main Menu        Logoff


                                            Albemarle County Circuit - Criminal Division
                                                                     Case Details




          1.--------1,-----,------1.----------
           Case Number:                             Filed:             Commenced by:                          Locality:
           CR17000845-00                            12/04/2017         Direct Indictment                      COMMONWEALTH OF VA
            Defendant:                              Sex:               Race:                           DOB:
           1
            CANTWELL, CHRISTOPHER R                 Male               White Caucasian (Non-Hispanic) 111/12/****
            Address:
           ILEESBURG, VA 20175
            Charge:                       Code Section: Charge Type:                                          Class:
           IILLEGAL USE OF GAS: MALICIOUS 18.2-312      Felony        I                                       I
                                                                                                              3
           Offense Date:                            Arrest Date:
           08/11/2017                               12/07/2017        I

                       Hearings

                #     Date          Time                Type               Room Plea Duration Jury                      Result
               1 12/04/2017 9:30AM         Grand Jury                                                       True Bill
               2 12/07/2017 11:30AM Capias                                                                  Capias-Defendant Arrested
               3 01/31/2018 2:00PM         Motion - Other Pre-Trial                                         Tried
               4 02/09/2018 1:00PM         Motion - Other Pre-Trial                                         Tried
               5 02/12/2018 9:15AM         Jury Trial                                                 No    Continued
               6 02/22/2018 10:00AM To Be Set                                                               Set For Trial
               7 07/20/2018 3:00PM         Trial                                 Guilty                     Sent


                       Final Disposition

                       Disposition Code:                  Disposition Date:                  Concluded By:
                       Guilty                             07/20/2018                         Guilty Plea
                       Amended Charge:                    Amended Code Section:              Amended Charge Type:
                       ASSAULT & BATTERY                  18.2-57(A)                         Misdemeanor


               Jail/Penitentiary:          Concurrent/Consecutive:                      Life/Death:
               Jail                        Sentence Is To Run Concurrently With Another
               Sentence Time:              Sentence Suspended:                                 Operator License Suspension Time:
               12 Month(s)                 5 Month(s)
               Fine Amount:                Costs:                                              Fines/Cost Paid:




1 of 2                                                                                                                           6/19/2019, 11:59 AM
Virginia Courts Case Information System                                                      http://ewsocis1.courts.state.va.us/CJISWeb/CaseDetail.do
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                  Program Type:              Probation Type:                                   Probation Time:

                  Probation Starts:          Court/DMV Surrender:                              Driver Improvement Clinic:

                  Driving Restrictions:      Restriction Effective Date:

                  VA Alcohol Safety Action: Restitution Paid:                                  Restitution Amount:

                  Military:                  Traffic Fatality:
              I




                         Appealed Date:


                                          Name List    Pleadings/Orders        Services   Main Menu   Logoff


                                                                    Build #: 3.8.0.1




2 of 2                                                                                                                         6/19/2019, 11:59 AM
